              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:20-cv-00170-MR-DSC


APRIL LEDFORD,                  )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                      ORDER
                                )
WILLIAM LEDFORD, JASON          )
LEDFORD, DAMIN LEDFORD,         )
and JARIN LEDFORD,              )
                                )
                   Defendants.  )
_______________________________ )

     THIS MATTER is before the Court on the Defendants’ Motion to Set

Aside Entry of Default. [Doc. 12]. The Plaintiff has not responded to the

Defendants’ Motion.

     For the reasons stated in the Defendants’ Motion, and for good cause

shown,

     IT IS, THEREFORE, ORDERED that Defendants’ Motion to Set Aside

Entry of Default [Doc. 12] is GRANTED, and the Clerk’s Entry of Default

[Doc. 8] is hereby SET ASIDE.
                                        Signed: March 16, 2021

     IT IS SO ORDERED.




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